BRYAN SCHRODER
United States Attorney

KYLE REARDON
Assistant U.S. Attorney
Federal Building & U.S. Courthouse
222 West Seventh Avenue, #9, Room 253
Anchorage, Alaska 99513-7567
Phone: (907) 271-5071
Fax: (907) 271-1500
Email: kyle.reardon@usdoj.gov

Attorneys for Plaintiff

                        IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF ALASKA

     UNITED STATES OF AMERICA,                            ) Case No. 3:18-cr-00029-RRB
                                                          )
                             Plaintiff,                   )
                                                          )
           v.                                             )
                                                          )
     HAYDEN BEARD,                                        )
                                                          )
                             Defendant.                   )
                                                          )

                      GOVERNMENT SENTENCING MEMORANDUM

                    SUMMARY OF SENTENCING RECOMMENDATIONS

TERM OF IMPRISONMENT ............................................................................ 97 months

SUPERVISED RELEASE ............................................................................................. Life

SPECIAL ASSESSMENT ....................................................................................... $100.00

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          COMES NOW the United States of America, by and through undersigned counsel,

and hereby files this Sentencing Memorandum. For the reasons stated herein, the United

States respectfully asks the Court to impose a sentence of 97 months’ imprisonment,

followed by a life term of supervised release.

I.        INTRODUCTION

          a.      Investigation 1

          Crime Stoppers Tip about “Hayden B”

          In December 2017, an FBI Task Force Officer (“TFO”) received an anonymous

Crime Stoppers tip. The individual (hereinafter “Individual A”) stated that he had

recently met another individual named “Hayden B.” “Hayden B” was later determined to

be the defendant. Individual A stated that the defendant had shown Individual A images

child pornography from the defendant’s laptop. Among the images shown to Individual

A by the defendant was a child pornography video of a young boy whom Individual A

believed to be approximately six years of age.

          St. Louis Area Information about the Defendant

          On January 15, 2018, the TFO was contacted by a detective from the Bellville

Police Department in Bellville, Illinois. The detective had recently arrested an individual

(hereinafter “Individual B”) for possession and distribution of child pornography.

Individual B had confessed to the possession and distribution of child pornography as

well as using methamphetamine. During the investigation, the detective had served a


1   A detailed summary of the facts is contained within the sealed Final Presentence Report. Docket 50.
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search warrant on Individual B’s residence and seized Individual B’s cell phone. The

detective performed a forensic exam on the cell phone. The exam showed that Individual

B utilized a social networking application (hereinafter “App A”) to communicate with

other individuals.

       During the forensic examination of Individuals B’s cell phone, law enforcement

located messages between Individual B and the defendant that occurred between

December 13, 2016 and December 16, 2016. The defendant and Individual B engaged in

numerous conversations using “App A” regarding their desire to have sex with young

boys and girls between the ages of three and five. The defendant also knowingly

distributed to Individual B images of child pornography. In many cases, the defendant

sent the images and provided graphic details of sexual acts that he wanted to perform on

the children shown in the images. One images showed an adult male performing oral sex

on a pre-pubescent female between three to five years of age. The defendant also sent

Individual B an image that depicted a pre-pubescent female between the ages of three and

five being vaginally penetrated by the penis of an adult male.

       Search of the Defendant’s Residence

       On January 19, 2018, the FBI executed a search warrant at the defendant’s

residence. Located during this search were the defendant’s Apple iPhone and his Dell

Inspiron laptop. Both devices contained images and videos of child pornography.

Located on the devices were more than 600 images and videos of child pornography.



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Including images showing infants, as well as images showing prepubescent children

being anally and vaginally penetrated by adult males.

       b.     Procedural History

       The defendant was arrested pursuant to a Criminal Complaint on January 19,

2018. Docket 1. The Grand Jury returned a true bill on February 22, 2018, charging the

defendant with transportation of child pornography, in violation of 18 U.S.C. §

2252(a)(1); and possession of child pornography, in violation of 18 U.S.C. §

2252(a)(4)(B). Docket 16. The defendant pleaded guilty to Count Two (possession of

child pornography) on July 26, 2018. Docket 40. This plea was entered into pursuant to

a plea agreement with the United States. Docket 38. Judgment and sentencing has been

set for March 20, 2019. Docket 57.

II.    SENTENCING CALCULATION

       a.     Statutory Maximum Sentence

       The maximum sentence that may be imposed for possession of child pornography,

in violation of 18 U.S.C. § 2252(a)(4)(B), is up to 20 years in prison, a fine of $250,000,

and term of supervised release of between five years and life.

       b.     Sentencing Guidelines Calculation

       The Probation Officer found the total offense level to be 30, and the defendant’s

criminal history to be I. Presentence Report (hereinafter “PSR”) at ¶¶ 33, 37. The

resulting Sentencing Guidelines range is 97 to 121 months. Id. at 72.

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       c.     The Probation Officer’s Recommended Sentence

       The Probation Officer recommends a sentence of 72 months’ imprisonment. PSR

at “Sentencing Recommendation.” Upon completion of the defendant’s term of

incarceration, the Probation Officer recommends a 20-year term of supervised release.

Id. Neither a fine nor restitution is recommended. Id.

III.   GOVERNMENT’S RECOMMENDATION

       The United States asks the Court to impose a guideline sentence of 97 months’

imprisonment, followed by a life term of supervised release. This sentence is sufficient,

but not greater than necessary, to punish the defendant for his conduct. The sentence also

considers the defendant’s history and characteristics, and works to protect the public, by

deterring the defendant and others from committing similar crimes.

       a.     The Nature and Circumstances of the Offense

       The defendant engaged in a pattern of downloading, viewing and sharing horrific

images of child pornography, including images of toddlers and depictions of sadistic and

masochistic conduct. Each one of these documents the sexual assault of an innocent

victim. Paroline v. United States, 134 S.Ct. 1710, 1717 (2014) (“The harms caused by

child pornography, however, are still more extensive because child pornography is ‘a

permanent record’ of the depicted child's abuse[.]’”) (quoting New York v. Ferber, 458

U.S. 747, 759 (1982)). By downloading, viewing, and sharing these images, the

defendant added to the harm suffered by those victims. Id., (“The harms caused by child

pornography [are]…’exacerbated by [its] circulation.’”).

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       The harms caused by the defendant’s actions are exacerbated by the fact that he

freely traded images and used those images in furtherance of his sexual fantasies. As

stated by the victim in the “Vicky” series of child pornography images, one of the most

popular and frequently traded series of images and videos on the Internet, and whose

image formed part of the defendant’s collection:

       [I live] every day with the horrible knowledge that someone somewhere is
       watching the most terrifying moments of my life and taking grotesque
       pleasure in them.... Every day people are trading and sharing videos of me
       as a little girl being raped in the most sadistic ways.... They're being
       entertained by my shame and pain[.]

       The defendant was one of the very people about whom “Vicky” spoke – a person

who traded images of child pornography in order to satisfy his own sexual desires. For

Vicky, “every time [my images] are downloaded I'm exploited again. My privacy is

breached and my life feels less and less safe. I will never be able to have control over

who sees me raped as a child.” The defendant bears some responsibility for the harm

caused to the children in the images and videos he downloaded and traded.

       The abuse committed by the defendant through his acquisition and distribution of

these images is enough to justify the government’s requested sentence. See United States

v. Hernandez, 795 F.3d 1159, 1169 (9th Cir. 2015) (finding no abuse of discretion in a

bottom of the Guideline sentence of 262 months); see also United States v. Duke, 788

F.3d 392 (5th Cir. 2015) (upholding 20-year guideline sentence for defendant who

received and distributed 168 videos and 187 still images of child pornography). The

United States’ requested sentence is all the more reasonable when the Court considers the

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trauma suffered by the victims in his images. According to the Centers for Disease

Control and Prevention, children exposed to adverse childhood traumas are at an

increased risk of alcohol and drug abuse; poorer academic and work performance; and

poorer health, to include depression, sexually transmitted diseases, and unwanted

pregnancies. See http://www.cdc.gov/violenceprevention/acestudy.html. In one study,

children who have been the victim of childhood sexual abuse are more than twice as

likely to attempt suicide, and 40% more likely to marry an alcoholic. See Dube SR,

Anda RF, Whitfield, CL, Brown DW, Felitti VJ, Dong M, Giles WH. Long-term

consequences of childhood sexual abuse by gender of victim. Am J Prev Med.

2005;28:430–438 (available at http://www.ncbi.nlm.nih.gov/pubmed/15894146). When

one considers that victims of childhood sexual trauma often live in households with other

forms of dysfunction, to include the absence of two parents, and drug and alcohol abuse,

it is easy to conclude that their lives are severely impacted and their outcomes less

favorable. See Felitti VJ, Anda RF, Nordenberg D, Williamson DF, Spitz AM, Edwards

V, Koss MP, Marks JS. Relationship of childhood abuse and household dysfunction to

many of the leading causes of death in adults: the adverse childhood experiences (ACE)

study. Am J Prev Med. 1998;14:245–258 (available at

http://www.ncbi.nlm.nih.gov/pubmed/9635069).

       The defendant is not responsible for the initial trauma to the victim’s in the images

he downloaded and possessed. He is responsible for the harms those children suffer

every time their images are traded. By immersing himself in the online world of child

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pornography, the defendant contributed to the cycle of violence that leads to new images

of abuse. “Young children were raped in order to enable the production of the

pornography that the defendant both downloaded and uploaded-both consumed himself

and disseminated to others. The greater the customer demand for child pornography, the

more that will be produced.” United States v. Goldberg, 491 F.3d 668, 672 (7th Cir.

2007) (citations omitted). The government’s requested sentence is warranted in light of

this fact.

        The United States is well aware that it is seeking a lengthy sentence in this case.

This sentence, combined with the term of supervised release will have a significant effect

on the defendant’s future freedoms and liberty. This imposition on the defendant’s future

is justified in light of his history and characteristics.

        Moreover, when this sentence is compared with the lifetime of victimization

suffered by those exploited by the defendant, it is entirely reasonable. The Court must

not be influenced by the erroneous belief that it’s “sentence affects only the life of the

criminal and not the lives of his victims.” Id. at 671. The defendant’s acts amounted to

the sexual exploitation and abuse of those whose images he viewed. See Ferber, 458

U.S. at 759 (1982) (The use of children as subjects of pornographic materials is harmful

to the psychological, emotional, and mental health of a child.”); see also Adam Walsh

Child Safety and Protection Act of 2006, Pub. L. No. 109-248, §501, 120 Stat. 587, 623

(2006) (“The illegal production, transportation, distribution, receipt, advertising[,] and

possession of child pornography ... is harmful to the physiological, emotional, and mental

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health of the children depicted in child pornography and has a substantial and detrimental

effect on society as a whole.”) As noted above, the victims in this case are real, and

justice is served when the people who exploit those victims are given significant

sentences of imprisonment.

       b.     The History and Characteristics of the Defendant.

       The United States acknowledges the defendant’s history and characteristics. Two

factors stand out – the defendant’s childhood with an abusive stepfather, and his

substance abuse problems. Both of these factors support the United States’ requested

guideline sentence.

       As it concerns the defendant’s upbringing, his time spent with an abusive

stepfather does little to explain or justify his crime. There is no allegation of prior sexual

abuse involving the defendant, or any implication that his stepfather’s action significantly

impacted the defendant. Indeed, there is no empirical evidence to support any belief that

childhood abuse of any sort contributes to acts of child exploitation later in life.

       Of significant concern to the United States is the defendant’s documented history

with illegal drugs. This addiction only added fuel to the defendant illegal sexual urges,

and remains a threat to his lawful behavior following his release from prison. For this

reason, the United States is seeking a lifetime term of supervised release. Such a term is

necessary to ensure that the defendant has the proper support and incentive to ensure that

he does not submit to the demons that led him to his conviction.



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       c.     The Seriousness of the Offense

       As explained above, the impact this crime has upon its victims makes it among the

most serious offenses in the federal code. That fact cannot be denied. The United States’

requested sentence is entirely appropriate in this case.

       d.     The Need for Adequate Deterrence

                  i. Specific Deterrence and Protection of the Public

       The United States recognizes that it is seeking a significant sentence of

imprisonment in this case. There is nothing wrong in this case with incapacitating the

defendant for the 97 months, and then maintaining supervision over him for the

remainder of his life. Indeed, such a sentence is entirely appropriate given that the risk of

recidivism for individuals like the defendant is “frightening and high.” McKune v. Lile,

536 U.S. 24, 34 (2002); see also id. at 33 (“When convicted sex offenders reenter society,

they are much more likely than any other type of offender to be rearrested for a new rape

or sexual assault” (citing U.S. Dept. of Justice, Bureau of Justice Statistics, Sex Offenses

and Offenders 27 (1997); U.S. Dept. of Justice, Bureau of Justice Statistics, Recidivism

of Prisoners Released in 1983, p. 6 (1997))); United States v. Gonzalez, 445 F.3d 815,

819 (5th Cir. 2006) (upholding district court sentence which was based in part on the fact

that, as the district court stated, “these sorts of folks…they never get better. Sex

offenders have the lowest rate of recovery and the highest rate of recidivism of any

criminal defendant. This is an addiction that is almost impossible to overcome.”); United

States v. Pugh, 515 F.3d 1179, 1201 (11th Cir. 2008) ("As Congress has found and as we

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have discussed, child sex offenders have appalling rates of recidivism and their crimes

are under-reported.").

        Some recent publications have challenged the argument that recidivism among sex

offenders is higher than for the general population. The United States Sentencing

Commission’s 2012 Report on Federal Child Pornography Offenses (hereinafter

“Report”) found a general rate of recidivism among non-production offenders of 30

percent and a sexual recidivism rate of 7.4 percent. See Report Executive Summary at

xv. These rates were based on offenders’ arrests or convictions. Id. However, the

Report also noted that “a very large percentage of child sexual abuse is unreported.”

Report at 173. Indeed, the Report admits that [t]he key point, that some child

pornography offenders have committed officially undetected contact offenses[,] is not

controversial.” Id. at 173-74. 2

        Recent anecdotal evidence only confirms what the above study demonstrates.

News reports are documenting credible and corroborated sexual abuse and harassment

allegations made by mature women against prominent males. These abuses remained

dormant for years through a combination of shame and fear. One can only imagine how




2
 Peer-reviewed academic studies confirm that rates of arrest and conviction are not valid proxies for
contact. In one study, 57.5 percent of individuals being investigated for child pornography crimes with
no-known hands-on offending admitted to sexually abusing at least one child. M.L. Bourke, L.
Fragomelli, P.J. Detar, M.A. Sullivan, E. Meyle & M. O’Riordan, The Use of Tactical Polygraph with
Sex Offenders, J. Sexual Aggression: An Intl’, Interdisciplinary Forum for Research, Theory & Practice
(2014). In another study involving 155 sex offenders, the number of individuals admitting to hands-on
offenses increased from 26 percent at the time therapy in the Bureau of Prisons started to 85 percent at the
conclusion of therapy. The ‘ButnerStudy’ Redux at 183-91 (2009).
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strong those feelings would be in a child victim. It is easy to see that the underreporting

of childhood sexual abuse is a significant issue.

       In assessing recidivism, current research has focused on two primary risk factors –

antisocial behavior and degree of sexual deviance. See Report i-iv, 7, 207. Anti-social

behavior can be described as criminality in thought and behavior and general difficulties

in self-regulation. It also includes personality characteristics such as entitlement, lack of

empathy, and manipulation of others. Sexual deviance includes any abnormal source of

sexual attraction.

       There is nothing in the record that measures through appropriate psychological

testing the defendant’s antisociality or sexual deviance. However, there are a number of

red flags in this case that should give the Court pause. As it concerns antisociality, the

defendant’s substance abuse history is significant to the United States.

       The defendant’s willingness to engage in sexual banter in which he fantasizes

about the abuse of family member is a significant factor the United States believes the

Court should consider when measuring sexual deviance. Another factor is pedophilia,

which is defined in the Diagnostic and Statistical Manual (DSM) V as a pattern of sexual

attraction to children lasting more than six months. The defendant’s history and his

collection of child pornography images appears to satisfy these criteria.

       Absent a full psychological evaluation that relies on generally accepted methods

and appropriate psychological testing, the Court should refrain from any precise guess as

to the defendant’s likelihood to reoffend. Future risk assessments in child sex offenses

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have historically been very inaccurate. See Terence W. Campbell, Sexual Predator

Evaluations and Phrenology: Considering Issues of Evidentiary Reliability, 18 Behav.

Sci. & L. 111, 128 (2000). This is so because of the inherent difficulty in coming up with

valid empirical evidence related to these crimes and offenders, including underreporting

by victims and offenders. Bourke, M.L., Hernandez, A.E. (2009) The ‘Butner Study’

Redux: A Report of the Incidence of Hands-On Child Victimization by Child

Pornography Offenders. Journal of Family Violence, 24(3), 184 (2009) (hereinafter

“Butner Study Redux”) ("The dearth of empirical knowledge about this population not

only has challenged law enforcement and criminal justice officials, but also has hampered

mental health professionals. For example, at the present time, there are no evidence-

based protocols to guide the assessment and treatment of these offenders.") They are no

less difficult in this case.

       What the Court does know is that the defendant has a sexual interest in children

and that this interest manifested itself in illegal ways. The Court also knows that the

defendant has engaged in numerous behaviors over a number of years that demonstrate

an increased risk of future offending. Given these facts, the only way to protect the

public is to sentence the defendant to a lengthy term of imprisonment followed by a

lifetime term of supervised release.

       Furthermore, even if the defendant presents a lower risk of recidivism upon his

release from prison, this does not warrant a significantly reduced sentence. As the

Eleventh Circuit stated: “[a] low risk is not the same as no risk. Adequate protection is a

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function of two variables: the level of risk that conduct will occur and the level of harm

that will be inflicted if that conduct does occur.” United States v. Irey, 612 F.3d 1160,

1217 (11th Cir. 2010) (en banc) (citing United States v. Boyd, 475 F.3d 875, 877-78 (7th

Cir. 2007) (upholding a sentencing determination that the defendant’s acts created a

substantial risk of bodily injury to another person in part because “[d]angerousness is a

function of the magnitude of the harm that will occur if danger materializes and the

probability that it will materialize”)). In these types of cases, the harm that befalls to any

victim is extreme, and more than justifies a lengthy sentence of imprisonment.

       The Court’s sentence must deter the defendant from committing any future crimes

against children. The defendant’s crime makes it clear that he has a pernicious sexual

interest in children, and that sexual desire is affected by his drug addiction. While

treatment and therapy might allow the defendant to manage that interest, it is naïve to

think that this interest will not persist in the defendant upon his release from

imprisonment. A sentence of 97 months followed by lifetime supervised release – with

the persistent threat of additional jail time upon any relapse - would send a message to the

defendant that that will hopefully deter him from acting on those desires in the future.

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                  ii. General Deterrence

       In addition to protecting society from the defendant, the United States’ requested

sentence is also necessary to deter others who exploit children in order to feed the

marketplaces at which the defendant shopped.

       Sentences influence behavior, or so at least Congress thought when in 18
       U.S.C. § 3553(a) it made deterrence a statutory sentencing factor. The
       logic of deterrence suggests that the lighter the punishment for
       downloading and uploading child pornography, the greater the customer
       demand for it and so the more will be produced.

United States v. Goldberg, 491 F.3d 688, 672 (7th Cir. 2007) (citations omitted). The

Court’s sentence matters, and the impact of that sentence will be felt by all who might

engage in similar conduct.

       The United States is well aware that it is seeking a lengthy sentence in this case.

However, when this sentence is compared with the lifetime of victimization suffered by

the victims in this case, and the risk that the defendant and those like him present to the

public, it is entirely reasonable. The Court must not be influenced by the erroneous belief

that it’s “sentence affects only the life of the criminal and not the lives of his victims.”

Id. at 671. The defendant received, possessed, and traded images that documented the

abuse of children. With his actions, the defendant transferred to another generation the

long-term harm of sexual trauma. See Ferber, 458 U.S. at 759 (“The use of children as

subjects of pornographic materials is harmful to the psychological, emotional, and mental

health of a child.”); see also Adam Walsh Child Safety and Protection Act of 2006, Pub.

L. No. 109-248, §501, 120 Stat. 587, 623 (2006) (“The illegal production, transportation,

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distribution, receipt, advertising[,] and possession of child pornography ... is harmful to

the physiological, emotional, and mental health of the children depicted in child

pornography and has a substantial and detrimental effect on society as a whole.”

          e.      Protection of the Public from the Defendant

          A long period of confinement will incapacitate the defendant. The protection of

the public during this period of confinement is direct and obvious. When released, a

lifetime term of supervised release is the best remedy available to the Court to continue

that protection.

          A lifetime term of supervised release will allow the Court to supervise the

defendant - monitoring his computer access, social networks, and access to children.

Lifetime supervision will also allow the Court to continue to provide mental health

services directed at the defendant’s sexual interest in children and prior history of drug

use. In the United States’ view, the potential harm that would occur should the defendant

recidivate makes a lifetime term of supervision critical.

          f.      The Need for Educational, Vocational, or Other Care or Treatment

          The United States does not consider this factor to be significant in the Court’s

calculation of a term of imprisonment. However, the United States recommends that the

defendant be detained at a Bureau of Prisons facility that offers either a Residential Sex

Offender Management Program (SOMP), or Non-Residential SOMP. 3 These programs




3
    This recommendation is dependent upon space availability and security classification.
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will allow the defendant to continue addressing the issues that have led to his paraphilic

interest in juveniles. 4

       g.      The Kind of Sentences Available and the Sentencing Range Established
               by the Sentencing Commission

        The United States’ requested sentence is within the applicable guideline range.

       h.      Sentencing Disparity

       The United States requested sentence will not result in an unreasonable disparity.

Defendants whose conduct is similar to this one have been given guideline sentences in

this district and elsewhere. Moreover, the nature of the defendant’s conduct makes the

requested sentence more than appropriate.

       Recent sentences imposed by this Court and others support the United States’

requested sentence. Within the District of Alaska, defendants convicted of possession of

child pornography offenses have generally received below guideline sentences.

However, in most instances, those sentences involved defendants who had little to no

prior criminal history. See United States v. Grey, 3:14-cr-00025-RRB-SAO (77-month

below guideline sentence); see also United States v. St. Hilaire, 4:15-cr-00007-RRB (72-

month below guideline sentence). Moreover, in several instances, those sentences have

been at or near the United States’ requested sentence. See e.g., United States v. Evans,

3:10-cr-00118-JWs (72 months); United States v. Cook, 4:08-cr-00024-RRB. Guideline


4
  A residential SOMP lasts from 12 to 18 months. Referrals to the program are generally made when an
inmate has 36 months remaining on their sentence. As such, given the mandatory minimum sentence,
there is no term of imprisonment the Court might impose which would preclude the defendant’s voluntary
participation in a sex offender program.
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sentences have also been given in cases involving the production and receipt and

distribution. See e.g. United States v. Collander, 3:13-cr-00126-SLG (production);

United States v. Young, 3:09-cr-00129-JWS (above guideline sentence in production

case); United States v. Baldwin, 1:07-cr-00001-TMB (receipt).

       Furthermore, courts in the Ninth Circuit and elsewhere have concluded that in

some cases child pornography sentences within the guidelines are proper. See e.g. United

States v. Mikulak, 2015 WL 5438992 (9th Cir. Sept. 16, 2015) (121-month within-

Guidelines sentence); Hernandez, 795 F.3d at 1169 (262-month Guideline sentence).

However, given the unique facts in every case, the United States cautions against

overreliance on recently adjudicated cases. “While sentences imposed by other courts

may be a consideration for a district court, such information does not set a median, floor,

or ceiling.” United States v. Miller, 665 F.3d 114, 122 (5th Cir. 2011). The guideline

sentence sought by the United States is entirely appropriate when viewed through the

3553 factors. See Gall v. United States, 552 U.S. 38, 49-51 (2007)). The child

pornography possessed by the defendant and its impact on the victims in this case, the

history and characteristics of the defendant, and the need to deter the defendant and

others all argue in favor of a lengthy term of imprisonment. Such a term would not result

in an unwarranted sentencing disparity.

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       i.     Restitution

       Crime victims have numerous rights under federal law. One is the right to receive

“full and timely restitution as provided by law.” 18 U.S.C. § 3771(a)(6). Federal

prosecutors are tasked with making “their best efforts to see that crime victims are

notified of, and accorded, the rights described in subsection (a).” 18 U.S.C. § 3771(c)(1).

Pursuant to 18 U.S.C. § 2259(b)(4), the issuance of a restitution order for offenses under

Chapter 110 of the United States Code – which encompasses all of the defendant’s

offenses of conviction – is “mandatory.”

       Numerous victim impact statements and requests for restitution have been

submitted by victims whose images were downloaded and possessed by the defendant.

The United States is working with victims and their counsel to determine if the parties

wish to pursue these claims. Accordingly, the United States requests that a restitution

hearing be set for a date approximately 60 days after the Imposition of Sentence.

IV.    CONCLUSION

       For the reasons stated herein, the United States respectfully asks the Court to

sentence the defendant to 97-months’ imprisonment, to be followed by a lifetime term of

supervised release. This sentence recognizes the nature and circumstances of the

defendant’s crime, his defendant’s history and characteristics, as well as the seriousness

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of his conduct. The sentence will also serve as a deterrent to future crime and will protect

the public from the defendant.

       RESPECTFULLY SUBMITTED this 13th day of March, 2019, in Anchorage,

Alaska.

                                           BRYAN SCHRODER
                                           United States Attorney

                                           s/ Kyle Reardon
                                           KYLE REARDON
                                           Assistant U.S. Attorney
                                           United States of America



CERTIFICATE OF SERVICE

I hereby certify that on March 13, 2019,
a copy of the foregoing was served
electronically on:

Gretchen Staft, Assistant Federal Defender

s/ Kyle Reardon
Office of the U.S. Attorney




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